         Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 1 of 22




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :       Crim. No. 21-cr-00032 (DLF)
                                               :
               v.                              :
                                               :
GUY WESLEY REFFITT,                            :
                                               :
                       Defendant.              :

             GOVERNMENT’S OMNIBUS OPPOSITION TO DEFENDANT’S
                          POST-TRIAL MOTIONS

       The Court should not disturb the jury’s guilty verdict on all counts following the trial. None

of the three post-trial motions filed by the defendant—for judgment of acquittal on all counts (ECF

No. 128), for a new trial on Count Three (ECF No. 129), and to arrest judgment on Count Two

(ECF No. 130)—has any merit.

I.     BACKGROUND

       On March 8, 2022, following over three days of evidence, the jury returned a verdict of

guilty on all five counts. The Court then orally denied the defendant’s initial Rule 29 motion, on

which it had reserved ruling, finding that the evidence was more than sufficient to sustain the jury’s

verdict on each count. See Tr. 3/8/22 at 1498-99 (“Considering the evidence in the light most

favorable to the government, as the Court must, the Court finds that a rational jury could find the

essential elements of the crimes charged beyond a reasonable doubt.”).

       The defendant timely filed his post-trial motions on March 21, 2022.

II.    LEGAL STANDARD

       Rule 29 permits the defendant the move for judgment of acquittal at the close of the

government’s case in chief or at the close of all evidence on the ground that the evidence presented

is “insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a). The Court must consider the



                                                   1
        Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 2 of 22




evidence “in the light most favorable to the government” to determine if “any rational trier of act

could have found the essential elements of the crime beyond a reasonable doubt.” United States

v. Shi, 991 F.3d 198, 205 (D.C. Cir. 2021) (citations omitted). Stated otherwise, “a judgment of

acquittal is warranted ‘only when there is no evidence upon which a reasonable mind might find

guilt beyond a reasonable doubt.’” United States v. Khanu, 675 F. Supp. 2d 55, 60 (D.D.C. 2009)

(quoting United States v. Byfield, 928 F.2d 1163, 1165 (D.C. Cir. 1991)). When considering a

Rule 29 motion after a verdict, the Court “must view the evidence in the light most favorable to

the verdict, and must presume that the jury has properly carried out its functions of evaluating the

credibility of witnesses, finding the facts, and drawing justifiable inferences.” United States v.

Campbell, 702 F.2d 262, 264 (D.C. Cir. 1983). Credibility determinations are for the jury, not for

the judge when deciding a motion under Rule 29. United States v. Williamson, 81 F. Supp. 3d 85,

89 (D.D.C. 2015); see also Glasser v. United States, 315 U.S. 60, 80 (1942) (courts should not

“weigh the evidence or determine the credibility of witnesses”).

       A defendant’s Rule 29 burden at the post-verdict stage is “very high,” in part because

evidence to support a conviction does “not need to be overwhelming.” United States v. Pasha,

797 F.3d 1122, 1135 n.9 (D.C. Cir. 2015). Indeed, the Court owes “tremendous deference to a

jury verdict.” United States v. Long, 905 F.2d 1572, 1576 (D.C. Cir. 1990). The defendant cannot

surmount that demanding standard here.

       Rule 33 permits the Court to vacate the judgment and grant a new trial “if the interest of

justice so requires.” Fed. R. Crim. P. 33(a). “In order to grant a new trial, the evidence must

preponderate heavily against the verdict, such that it would be a miscarriage of justice to let the

verdict stand. This power should be exercised with caution, and is invoked only in those

exceptional cases in which the evidence weighs heavily against the verdict.” United States v.



                                                 2
        Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 3 of 22




Edmonds, 765 F. Supp. 1112, 1118 (D.D.C. 1991) (internal citations and quotation marks omitted).

The defendant bears this heavy burden under Rule 33, and to meet it he “must show that (1) there

was a substantial error and (2) the error affected the defendant’s substantial rights.” Williamson,

81 F. Supp. 3d at 89.

       Finally, Rule 34 permits the defendant to move the Court to “arrest judgment” if the court

does not have jurisdiction over the charged offense. Fed. R. Crim. P. 34(a). To succeed under

Rule 34, a defendant must point to a fundamental error on the face of the indictment to show that

the court lacked jurisdiction over the offense. 3 Fed. Prac. & Proc. Crim. § 601 (“Grounds for

Arresting Judgment”) (4th ed. 2021). “Motions to arrest judgment are rarely granted.” Id. The

only basis for a Rule 34 motion is that the court lacked jurisdiction over the offense in the first

place. United States v. Mitchell, 389 F. Supp. 917, 920 (D.D.C. 1975), aff’d sub nom. United

States v. Haldeman, 559 F.2d 31 (D.C. Cir. 1976).

       The defendant cannot satisfy the standard in Rule 33, and Rule 34 is inapplicable.

III.    ARGUMENT

       The defendant’s motion for judgment of acquittal reads like his closing argument, focusing

on witnesses’ credibility, alleged inconsistencies, and innuendo about altered videos. But his

burden here is not to convince a jury to find him not guilty; rather, he must convince this Court

that no rational trier of fact could have found the essential elements of the crimes beyond a

reasonable doubt. He has not come close to meeting that burden. To the contrary, the evidence

readily supports the jury’s guilty verdict on each count.

       A.      Count One, Transporting a Firearm in Furtherance of a Civil Disorder

       Count One charged the defendant with transporting a firearm in furtherance of a civil

disorder, in violation of 18 U.S.C. § 231(a)(2). To establish that offense, the government had to



                                                 3
         Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 4 of 22




prove that (1) “the defendant transported a firearm in commerce”; and (2) “the defendant did so

knowing, having reason to know, or intending that the firearm would be used unlawfully in

furtherance of a civil disorder.” Final Jury Instructions (ECF No. 119), at 24 (Mar. 7, 2022). The

evidence amply supported each element.

        First, there is sufficient evidence for a rational jury to find that the defendant transported

two firearms from his home in Texas into Washington, D.C. Mr. Hardie testified that the defendant

brought an AR-15 rife and a semi-automatic handgun, which were introduced into evidence, see

Ex. 1B29 (AR-15-style rifle, Smith & Wesson model M&P 15); Ex. 1B27 (Smith & Wesson .40

caliber semi-automatic handgun), in the car for the cross-country trip that the two men made

together, see Tr. 3/4/22 at 1119 (“I saw that he had an AR.”); id. at 1120 (“He had a handgun.”).

Mr. Hardie further testified that the defendant left his AR-15 rifle fully assembled in his car in the

hotel garage in Georgetown on the morning of January 6, 2021. See Tr. 3/4/22 at 1122 (“We

opened our cases for our ARs, and we reassembled the ARs.”). And Jackson Reffitt testified that

he saw his father bring the AR-15 rifle and his handgun back into the house upon his return from

Washington, D.C. See Tr. 3/3/22 at 973 (defendant brought inside house “his gun case that carried

his AR”); id. at 974-75 (defendant had handgun on his hip).

        Second, the evidence easily supports the jury’s finding that the defendant transported the

firearms into the District “knowing, having reason to know[,] or intending that the firearm would

be used unlawfully in furtherance of civil disorder.” Tr. 3/7/22 at 1422 (jury instruction). The

defendant knew it was illegal to possess the firearms in the District and at the Capitol. See Tr.

3/4/22 at 1112-13 (testimony of Mr. Hardie that the defendant said it would not be legal to possess

a gun in the District); Ex. 1B4.2 (12/28/20 Telegram message in which the defendant says, “I don’t

think unarmed will be the case this time. I will be in full battle rattle. If that’s a law I break, so be



                                                   4
         Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 5 of 22




it.”). And given the copious evidence about the defendant’s intent to work with the crowd to

physically drag legislators out of the Capitol building, see, e.g., Ex. 1B4.1 (agreeing on December

22, 2020, with fellow Texas Three Percenter that “[t]he only way you will be able to do anything

in DC is if you get the crowd to drag the traitors out”), the jury could readily have drawn the

inference that the defendant knew or intended that his firearms would be used to further the aims

of the civil disorder.

        Moreover, although guilt on Count One does not depend on any civil disorder ever coming

to pass, the evidence clearly established that the defendant was a full participant in a civil disorder

at the Capitol. The testimony of Officer Kerkhoff, Sgt. DesCamp, and Sgt. Flood, along with the

overview testimony of Inspector Moore and the summary surveillance video montage (Ex. 204),

easily demonstrated that what occurred at the Capitol on January 6, 2021, constituted a “civil

disorder” within the definition of 18 U.S.C. § 232(1). It was a “public disturbance” involving acts

of violence (there were many) by more than three people (there were hundreds if not thousands)

that satisfied the definition: it caused an immediate danger of injury and property damage and it in

fact resulted in injury and property damage. Thus, the riot at the Capitol, as the Court already

found, constituted a civil disorder. See Tr. 3/8/22 at 1500.

        As the Court already found, “a jury could well find beyond a reasonable doubt that Mr.

Reffitt knew or intended that the guns would be used in furtherance of the civil disorder in violation

of Title 18 United States Code Section 231(a)(2).” Tr. 3/8/22 at 1499. The Court should deny the

motion for judgment of acquittal on Count One.

        B.      Count Two, Obstruction of an Official Proceeding

        A rational jury could have found—as it did—that the defendant violated 18 U.S.C.

§ 1512(c)(2). Here, the defendant does not seriously argue this point; rather, he unsuccessfully



                                                  5
         Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 6 of 22




attempts to re-litigate the correctness of the Court’s instructions to the jury. And the defendant’s

motion to “arrest judgment” on Count Two summarily fails because he identifies no sound basis

to question this Court’s jurisdiction over the count.

               1.      There is sufficient evidence that the defendant violated Section 1512(c)(2)

       To prove a violation of Section 1512(c)(2), the government had to prove beyond a

reasonable doubt the following four elements:

        First, the defendant attempted to or did obstruct or impede an official proceeding.

        Second, the defendant acted with the intent to obstruct or impede the official
        proceeding.

        Third, the defendant acted knowingly, with awareness that the natural and
        probable effect of his conduct would be to obstruct or impede the official
        proceeding.

        Fourth, the defendant acted corruptly.

Final Jury Instructions (ECF No. 119), at 25.

       The government can satisfy its burden on this count by proving (a) that the defendant

obstructed an official proceeding, (b) attempted to obstruct an official proceeding, and/or (c) aided

and abetted others to obstruct an official proceeding. Id.

       As the Court already concluded, “a rational jury could find beyond a reasonable doubt that

Mr. Reffitt obstructed an official proceeding in violation of Title 18 United States Code Section

1512(c)(2) or that he attempted the offense or aided and abetted others in committing the offense.”

Tr. 3/8/22 at 1501. Congress’s Joint Session on January 6, 2021, was an “official proceeding.”

Tr. 3/7/22 at 1424 (jury instruction). And the government presented evidence that Vice President

Mike Pence, Speaker of the House Nancy Pelosi, and senators and representatives were evacuated

from the Senate and House chambers and thus could not proceed with the session. See Ex. 702




                                                  6
         Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 7 of 22




(stipulation); Ex. 507 (video montage of proceedings); Tr. 3/4/22 at 1072-73 (testimony of Dan

Schwager, counsel to the Secretary of the Senate). 1

       The defendant both attempted to and intended to obstruct the proceeding: he went to the

Capitol building and tried to get past the Capitol Police officers and into the building to the prevent

the proceeding from taking place. He acted “corruptly” both by using unlawful means and by

acting with an unlawful purpose. He employed unlawful means when he “assisted and encouraged

others who used unlawful means, namely assaults of federal officers, to forcibly breach the

Capitol.” Tr. 3/8/22 at 1501 (Court ruling). And he acted with an unlawful purpose, that being

“to physically overthrow Congress.” Id. at 1502 (Court ruling). His purpose, as evidenced by

both his statements and the tools he brought with him, like flexicuffs and a handgun, was to

physically drag lawmakers out of the Capitol. And he had “consciousness of wrongdoing”: he

knew that the Capitol Police officers were doing their jobs in preventing his access to the building,

he knew he was not allowed to possess firearms in the District and especially at the Capitol, and

he knew that his actions would cause the proceeding to stop. See Tr. 3/4/22 at 1112-13 (testimony

of Mr. Hardie that the defendant said it would not be legal to possess a gun in the District); Ex.

217 at 1:20 (recording of defendant telling his son, “I did bring a weapon on property that we own.

Federal grounds or not. The law is written, but it doesn’t mean it’s right law.”); Ex. 218 at 4:20


1
  Contrary to the defendant’s representation in his motion, the parties did not stipulate that the Joint
Session “adjourned” at approximately 1:15 p.m. Mot. ¶ 25. Rather, the parties stipulated that at
1:15 p.m. the two Houses of Congress “adjourned to their separate chambers for up to two hours
to resolve a particular objection.” Ex. 702. As Mr. Schwager confirmed in his testimony, the Joint
Session was ongoing even while the two Houses were debating separately; it did not conclude until
the Vice President, as the presiding officer, announced that it was dissolved early in the morning
on January 7, 2021. Tr. 3/4/22 at 1075; see also Ex. 501.16 (showing that 3 U.S.C. § 16 provides,
“Such joint meeting shall not be dissolved until the count of electoral votes shall be completed and
the result declared.”).



                                                   7
         Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 8 of 22




(defendant describing the police officers firing projectiles at him as doing “their job”); Ex. 1B4.2

(12/28/20 Telegram message in which the defendant says, “I don’t think unarmed will be the case

this time. I will be in full battle rattle. If that’s a law I break, so be it.”). On December 22, 2020,

when a fellow Texas Three Percenter told the group via Telegram that “[t]he only way you will be

able to do anything in DC is if you get the crowd to drag the traitors out,” the defendant agreed.

Ex. 1B4.1.

       In addition to obstructing Congress’s proceeding through his own actions, the defendant

also aided and abetted others. He used a megaphone so that the crowd could better hear him. See

Ex. 205 at 1:48:05 p.m. (surveillance video showing defendant using megaphone). He told the

officers guarding the landing that they needed step aside because they could not “stop us all.” Tr.

3/7/22 at 1282-83 (testimony of Sgt. DesCamp). His actions while standing on the banister were

somewhat performative; he was “posturing” like he was “encourag[ing]” others, “leading the

crowd up from the stairs” by showing them the way and waving them forward with his arm. Tr.

3/2/22 at 709-10 (testimony of Officer Kerkhoff).        And he continued to wave others forward

towards the Capitol even after he sat down on the banister. Id.; Tr. 3/7/22 at 1337 (testimony of

Sgt. Flood); Ex. 205 at 1:51:30 (surveillance video showing the defendant gesturing). Afterwards,

he bragged on Telegram that he “forc[ed] the Capital police [sic] hand” and that “when they finally

broke through the doors[,] my job was done then.” Ex. 1B4.5.

       The evidence was therefore sufficient for the jury to convict the defendant of obstruction

of an official proceeding.




                                                  8
           Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 9 of 22




                 2.      The Court’s instructions to the jury were correct

         In seeking a judgment of acquittal, the defendant proposes a set of jury instructions 2 that

are wrong as a matter of law, that no court has adopted, and that this Court already explicitly

rejected. His proposed element two would require the government to prove that the defendant

“impair[ed] the integrity and availability of non-object information.” And element three would

require obstruction with the “due administration of justice, that is, the defendant acted knowingly

and dishonestly with the intent to obtain an unlawful advantage for himself or an associate, and

that he influenced another to violate their legal duty.” Neither is supported.

                         a.      There is no requirement that “the integrity and availability of non-
                                 object information” be impaired.

         There is no basis for this extratextual limitation in the statute. See United States v. Sandlin,

No. 21-cr-88 (DLF), 2021 WL 5865006, at *8 (D.D.C. Dec. 10, 2021) (rejecting “defendants’

narrow construction of subsection (c)(2), which would limit its scope to acts affecting evidence”);

see also id. at *4 (noting that a court should “ordinarily resist reading words or elements into a

statute that do not appear on its face”) (quoting Bates v. United States, 522 U.S. 23, 29 (1997)).


2
    The defendant’s proposed instruction is on page 9 of his motion:
1) that the defendant acted knowingly;
2) that the defendant obstructed, influenced, or impeded, or attempted to obstruct, influence or
impede an official proceeding by impairing the integrity and availability of non-object information
to be used in the official proceeding;
3) that the defendant acted corruptly to obstruct, influence, or impede the due administration of
justice, that is, the defendant acted knowingly and dishonestly with the intent to obtain an unlawful
advantage for himself or an associate, and that he influenced another to violate their legal duty;
and
4) that the defendant’s alleged actions had a relationship in time, causation, or logic with the
proceeding such that it was foreseeable that defendant’s conduct would interfere with the
proceeding. In other words, the government must prove to you beyond a reasonable doubt that
obstruction of an official proceeding was the natural and probable outcome of defendant’s conduct.

                                                    9
        Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 10 of 22




And the phrase does not appear to have been adopted by a single court. Indeed, while the defendant

relies heavily on United States v. Ahrensfield, 698 F.3d 1310, 1324 n.8 (10th Cir. 2012), in that

case there was no such limitation in the jury instructions that the obstruction relate to some type

of information, whether “non-object,” documentary, or otherwise.

       In addition, the defendant’s proposal is not the one recently endorsed by Judge Nichols in

United States v. Miller, No. 21-cr-119 (CJN), 2022 WL 823070, at *15 (D.D.C. Mar. 7, 2022),

which held that the defendant must “take some action with respect to a document, record, or other

object” to corruptly obstruct an official proceeding. (Notably, the conviction in Ahrensfield, which

was premised on a law enforcement officer disclosing the existence of an undercover investigation

to the target of that investigation, would not survive the “document, record, or other object”

requirement imposed by Judge Nichols’s decision in Miller.) And while the defendant relies

heavily on Judge Nichols’s decision in Miller, the government respectfully submits that that

decision was wrongly decided and against the great weight of authority. On April 1, 2022, the

government moved Judge Nichols to reconsider his decision; that motion is attached here as

Exhibit 1 and the government incorporates those arguments.

       In reaching his decision, Judge Nichols did not acknowledge this Court’s prior decision in

Sandlin, which the Court then adopted in this case. See Dec. 11, 2021 Min. Order. Three weeks

later, the Court explicitly cited its Sandlin decision in rejecting Defendant Reffitt’s argument that

“§ 1512(c)(2) only covers acts that affect the state and content of what may be considered at an

official proceeding.” Dec. 29, 2021 Order (ECF No. 81), at 4.




                                                 10
        Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 11 of 22




       Judge Nichols’s decision in Miller also did not grapple with the unanimous legal analyses

of five other judges of this Court 3 that subsection (c)(2) is not limited by subsection (c)(1). In

United States v. Caldwell, 21-cr-28, 2021 WL 6062718 (D.D.C. Dec. 20, 2021), Judge Mehta

concluded that Section 1512(c)(2) is not “limited” to conduct “affecting the integrity or availability

of evidence in a proceeding.” Id. at *11. In United States v. Mostofsky, No. 21-cr-138, 2021 WL

6049891, at *11 (D.D.C. Dec. 21, 2021), Judge Boasberg’s brief analysis endorsed Sandlin and

Caldwell. In United States v. Nordean, 21-cr-175, 2021 WL 6134595 (D.D.C. Dec. 28, 2021),

Judge Kelly reasoned that an interpretation of Section 1512(c)(2) limiting it to “impairment of

evidence” could not “be squared with” Section 1512(c)(2)’s “statutory text or structure.” Id. at *6.

Judge Bates followed suit in United States v. Bozell, 21-cr-216, 2022 WL 474144, at *5 (D.D.C.

Feb. 16, 2022), and so did Judge Kollar-Kotelly in United States v. Grider, 21-cr-22, 2022 WL

392307, at *5-*6 (D.D.C. Feb. 9, 2022). Moreover, in United States v. Puma, 21-cr-454, 2022

WL 823079, at *13 (D.D.C. Mar. 19, 2022), Judge Friedman explicitly disagreed with Judge

Nichols’s decision in Miller, instead endorsing this Court’s conclusion in Sandlin that “Section

1512(c)’s structure [ ] does not support narrowly construing subsection (c)(2)’s otherwise

expansive plain text.” Id. at *13 (quoting Sandlin, 2021 WL 5865006, at *6) (alteration in Puma).

       As explained in the government’s motion to reconsider in Miller, Judge Nichols’s decision

is based primarily on erroneously applying the “rule of lenity.” Judge Friedman explained why

Judge Nichols is wrong on this point, see Puma, 2022 WL 823079, at *12, and this Court already

explicitly rejected the application of the rule of lenity, see Sandlin, 2021 WL 5865006, at *10



3
  In Miller, Judge Nichols did cite United States v. Montgomery, 21-cr-46 (RDM), 2021 WL
6134591, at *10-*18 (D.D.C. Dec. 28, 2021), in which Judge Moss reached the same conclusion
as these other five judges, following an extended discussion of Section 1512(c)’s text, structure,
and legislative history.

                                                 11
        Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 12 of 22




(holding that “the rule of lenity does not apply” because Section 1512(c)(2) is “unambiguous”).

As this Court noted when ruling on Defendant Reffitt’s initial Rule 29 motion, “a Court must first

exhaust all the tools of statutory interpretation and determine the best reading of the statute before

the rule of lenity comes into play and only then when the Court has identified a grievous

ambiguity.” Tr. 3/8/22 at 1505 (citing Wooden v. United States, 142 S. Ct. 1063, 1075 (2022)

(Kavanaugh, J., concurring)). Indeed, “because a court must exhaust all the tools of statutory

interpretation before resorting to the rule of lenity, and because a court that does so often

determines the best reading of the statute, the rule of lenity rarely if ever comes into play.”

Wooden, 142 S. Ct. at 1075 (Kavanaugh, J., concurring). Contrary to Judge Nichols’s approach

of “resolv[ing] ambiguities in favor of the defendant,” see Miller, 2022 WL 823070, at *15

(internal citation and quotation marks omitted), the rule of lenity is not an “overriding

consideration of being lenient to wrongdoers.” Wooden, 142 S. Ct. at 1075 (Kavanaugh, J.,

concurring).

        As this Court explained in Sandlin, while Section 1512(c)(1) prohibits the corrupt

destruction or alteration of documents, records, and other objects in connection with an official

proceeding, Section 1512(c)(2) “prohibits obstruction by means other than document destruction.”

2021 WL 5865006, at *6. That conclusion follows inescapably from the text of Section 1512(c)’s

two subsections read together: Section 1512(c)(1) “describes how a defendant can violate the

statute by ‘alter[ing], destroy[ing], mutilat[ing], or conceal[ing]’ documents for use in an official

proceeding,” Puma, 2022 WL 823079, at *12, while “otherwise” in Section 1512(c)(2) “signals a

shift in emphasis . . . from actions directed at evidence to actions directed at the official proceeding

itself, Montgomery, 2021 WL 6134591, at *12 (quoting Texas Dep’t of Hous. & Community

Affairs v. Inclusive Communities Project, Inc., 576 U.S. 519, 535 (2015)).



                                                  12
        Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 13 of 22




                       b.      A Section 1512(c)(2) offense does not require obstruction of the
                               “due administration of justice” or the transitive use of “corruptly.”

       The Court addressed this specific argument in Sandlin, rejecting the proposition that the

“due administration of justice” is an element of the offense. See 2021 WL 5865006, at *4 (because

Section 1503 targets “the due administration of justice,” whereas Section 1512(c)(2) “targets

official proceedings more broadly,” “the Court will not read an ‘administration of justice’

requirement into ‘official proceeding’”). After adopting the reasoning from Sandlin in this case,

see Dec. 11, 2021, Min. Order, and reviewing the parties’ briefing on this specific point, the Court

again “reject[ed]” the defendant’s argument. See Tr. 2/3/22 at 10 (“As I and a half a dozen other

judges on this court have held, the defendant need not have intended to instruct, impede, or

influence the due administration of justice to violate Section 1512(c)(2). The statute just requires

an intent to obstruct an official proceeding, which includes proceedings before Congress, and such

proceedings need not relate to the administration of justice.”).

       Though the defendant’s motion favorably cites Judge Nichols’s recent decision in Miller,

that decision did not adopt the defendant’s proposed “due administration of justice” argument.

While the phrase “due administration of justice” did appear in the jury instruction in Ahrensfield,

(a) the phrase made sense in that that case because the official proceeding in question was a grand

jury investigation rather than a proceeding before the Congress, and (b) the Tenth Circuit expressly

disclaimed any reliance on the propriety of the district court’s jury instructions. See 698 F.3d at

1324 n.8 (noting that the court did “not have occasion to review the correctness of this instruction”

for Section 1512(c)(2)).

       In addition, this Court already specifically rejected the defendant’s argument that Section

1512(c)(2) requires a person to corruptly influence another. See Tr. 2/3/22 at 10 (“I’m also

rejecting the argument you’ve raised that to violate Section 1512(c)(2) a defendant needs to

                                                 13
        Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 14 of 22




influence another to violate a legal duty. . . The defendant’s own behavior must be corrupt; he need

not corrupt another.”). The Court cited Judge Mehta’s opinion in Caldwell for this precise

proposition. Id. (citing Caldwell, 2021 WL 6062718, at *10). At the pretrial conference on

February 18, 2022, the defendant re-raised the points about “due administration of justice” and the

transitive use of “corruptly,” and the Court again rejected those proposals. See Tr. 2/18/22 at 12-

13 (“[A]s I said at the last hearing and as I ruled in Sandlin, I don’t believe to violate 1512(c)(2) a

defendant need have intended to obstruct, impede, or influence the due administration of justice.

A defendant also does not need to have influenced another to violate his or her legal duty to fall

under Section 1512(c)(2).”). The Court also rejected the defendant’s proposition that the definition

of “corruptly” requires an “an intent to gain an advantage for oneself or another” or “dishonesty.”

Tr. 2/3/22 at 10-11. A conviction under Section 1512(c)(2) does not require the government to

prove these additional elements.

               3.      The Court should not “arrest judgment” on Count Two.

       The defendant asks the Court to “arrest judgment” of this count under Rule 34, see ECF

No. 130, but he offers no reason why this Court would lack jurisdiction over a Section 1512(c)(2)

charge. Subject-matter jurisdiction “involves a court’s power to hear a case.” United States v.

Cotton, 535 U.S. 625, 630 (2002). For every federal criminal prosecution, 18 U.S.C. § 3231

supplies district courts with original jurisdiction for “all offenses against the laws of the United

States,” which indubitably includes the Section 1512 offense with which the defendant is charged.

       The defendant’s motion does cite or discuss any basis for a jurisdictional challenge to

Count Two. Instead, the defendant simply repeats attacks on the sufficiency of the indictment that

this Court has already rejected. Moreover, nothing in Section 1512—or, for that matter, Chapter

73, or even Title 18 itself—suggests that a federal district court in Washington, D.C., would



                                                  14
        Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 15 of 22




somehow lack jurisdiction over a charge that is alleged to have taken place in Washington, D.C.,

earlier the same month the defendant was charged with the offense. Indeed, both this Court and

all the judges cited above, see Section III.B.2.a, supra, have denied motions to dismiss Section

1512(c)(2) charges arising from the attack on the Capitol without so much as a hint that jurisdiction

is lacking. Even Judge Nichols’s decision in Miller dismissing the Section 1512(c)(2) charge for

failure to state an offense did not suggest that the court was somehow without jurisdiction over the

offense in the first place.

        C.      Count Three, Entering or Remaining in a Restricted Building or Grounds with
                a Firearm

        Count Three charged the defendant with entering or remaining in a restricted building or

grounds with a firearm, in violation of 18 U.S.C. § 1752(a)(1) and (b)(1)(A). To prove the

defendant’s guilt on this count, the government was required to prove that the defendant (1)

“entered or remained in a restricted building or grounds without lawful authority,” (2) “knew that

the building and grounds was restricted and . . . knew that he lacked the lawful authority to enter

or remain there,” and (3) “knowingly used or carried a firearm during and in relation to the

offense.” Final Jury Instructions (ECF No. 119), at 30. The evidence fully supported those

elements.

        Indeed, the defendant’s concession makes clear that the first two elements are satisfied.

The defendant conceded that the government presented evidence that he was at the U.S. Capitol

on January 6, 2021, within the restricted area, and that he knew he was present without lawful

authority. See Tr. 3/7/22 at 1472 (defense counsel, in closing, urging jury to “[f]ind Mr. Reffitt

guilty of Count 3A,” the lesser-included charge of entering or remaining in a restricted building or

grounds without a firearm). This Court already reached the same conclusion in its oral ruling on

the Rule 29 motion. See Tr. 3/8/22 at 1499-1500 (“The testimony of Capitol police officers shows

                                                 15
          Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 16 of 22




that Mr. Reffitt knew he was on restricted grounds and did not have the lawful authority to be

there, as he ignored police barricades, signs, and officers’ commands to retreat.”).

          There is also plentiful evidence supporting the third element that the defendant carried his

handgun with him when he went to the Capitol. A firearm holster is visible on the defendant’s hip

while he is on the banister of the Capitol. See Ex. 202.1 (still frame of Emily Molli video); Tr.

3/4/22 at 1243 (Agent Hightower testimony about the holster visible in the still frame). And the

defendant told others before and after that he was carrying his firearm. See Ex. 1B20.2.2 at 3:53

(helmet camera video of defendant telling others while at Ellipse, “Every one of my guys are here

and I can assure you they came in hot. So did I.”); Tr. 3/3/22 at 996 (Jackson Reffitt testimony

that, in Ex. 214, between 6:26 and 7:54, the defendant explains he had a loaded firearm while at

the Capitol and the defendant took the firearm out of the holster to display it to Jackson Reffitt);

Ex. 1B20.2.3.1 (Zoom recording of the defendant telling William Teer, “I had my . . . 40 on my

side”).

          As the Court already found, “a rational jury could find beyond a reasonable doubt that Mr.

Reffitt entered or remained in a restricted area with a firearm in violation of Title 18 United States

Code Section 1752(a)(1) and (b)(2).” Tr. 3/8/22 at 1499.

          Additionally, there is no merit to the defendant’s motion for a new trial “in the interest of

justice” on this count. ECF No. 129. The one-page motion appears to suggest that the defendant

is guilty only of the lesser-included offense of entering or remaining without a firearm. But the

motion does not identify why the interest of justice would support a new trial. There is no basis

for a new trial; there is no “newly discovered evidence,” cf. Fed. R. Crim. P. 33(b)(1), or any other

reason why a new trial would be warranted.




                                                   16
        Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 17 of 22




       D.      Count Four, Obstructing Officers During a Civil Disorder

       In Count Four, the defendant was charged with committing or attempting to commit an act

to obstruct officers during a civil disorder, in violation of 18 U.S.C. § 231(a)(3). To prove that

offense, the government was required to prove that (1) “the defendant knowingly committed an

act or attempted to commit an act,” (2) in so doing, the defendant “intended to obstruct, impede,

or interfere with” law enforcement officers; (3) the law enforcement officers were at that time

“engaged in the lawful performance of their official duties incident to and during a civil disorder,”

and (4) the civil disorder adversely affected either a federally protected function or commerce.

Final Jury Instructions (ECF No. 119), at 32. The government could also meet its burden by

proving that the defendant attempted to obstruct the officers. Id. at 33.

       The government presented sufficient evidence that the defendant obstructed and interfered

with the Capitol Police officers incident to and during a civil disorder. The first three elements are

satisfied because the defendant actively engaged three Capitol Police officers in an effort to

obstruct or interfere with them as they sought to maintain control over hordes of rioters outside the

Capitol building on January 6. Officer Kerkhoff, Sgt. DesCamp, and Sgt. Flood each testified that

the defendant refused their commands to stop, continued up the banister, and allowed and

encouraged the crowd below him to fill in the space, getting closer and closer to the officers

attempting to protect that narrow landing that led up to the Senate chamber. See, e.g., Tr. 3/7/22

at 1285-86 (testimony of Sgt. DesCamp that “[a]ll the people that were with him were also moving

up every time he moved up,” which was “significant” because “the only access to the Capitol at

this point is on that level, and we want to keep everybody down”). The officers’ testimony is

corroborated by the surveillance video, Ex. 205, and the other videos of the incident, Ex. 200

(News2Share video); Ex. 201 (Reuters video); Ex. 202 (Emily Molli news video); Ex. 203 (cell



                                                 17
        Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 18 of 22




phone video). All three officers had to engage the defendant with less-than-lethal weapons—

Pepperball launcher, Ex. 51, projectile launcher, Ex. 52, handheld O.C. spray, Ex. 54, and large-

canister O.C. spray, Ex. 53—in an attempt to stop his advances. And the officers’ attention being

focused on the defendant allowed other members of the crowd to further penetrate inside the

scaffolding, further endangering the officers. See, e.g., Tr. 3/7/22 at 1287 (Sgt. DesCamp

describing how while he was engaged with the defendant others were “using knives to cut the

scaffolding open to gain access into that area”).

        As the defendant’s motion points out, Sgt. DesCamp testified that the defendant was

“incapacitated” after he was hit with pepper spray, and Sgt. Flood testified that the defendant sat

down after being pepper sprayed. See Tr. 3/7/22 at 1301 (Sgt. DesCamp); Tr. 3/7/22 at 1345 (Sgt.

Flood). As an initial matter, it is not clear what, if any, legal significance attaches to this fact given

that the defendant had already engaged in his obstructive act at officers by that point. In any event,

Sgt. Flood also made clear that he did not see the defendant after their interaction, because he went

inside the Capitol building to assist with the Senate. Tr. 3/7/22 at 1343. And other evidence shows

that the defendant was not fully incapacitated or stopped. To the contrary, he continued to wave

and gesture for the crowd to surge forward after he was sitting on the banister. Tr. 3/7/22 at 1341-

42 (Sgt. Flood testimony); Ex. 202 (Emily Molli video) at 0:12–0:22. And surveillance video

showed the defendant walking up the stairs with the rest of the crowd at around 2:15 p.m., towards

the doors of the Senate wing that were initially breached at 2:13 p.m. See Ex. 205 at 2:15:40 p.m.

(showing the defendant walking up the stairs); Ex. 204 at 2:13:03 p.m. (showing the initial breach

of the building at the Senate wing). Moreover, the defendant himself told his fellow Texas Three

Percenter militia members that he had made it to the landing outside the Capitol building before

he finally turned back. See Ex. 1B20.2.3.1 (Zoom recording in which the defendant states, “I got



                                                    18
        Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 19 of 22




up the stairs, I got to the top where it was level, you could see the doors and they were beating on

the doors.”); Ex. 1B4.5 (“[W]hen they finally broke through the doors[,] my job was done then.”).

       The evidence supporting the jury’s finding that the riot that occurred at the Capitol on

January 6, 2021, met the definition of a “civil disorder” is recounted above in connection with

Count One. See Section III.A, supra. And evidence established that the civil disorder adversely

affected both commerce and federally protected functions. First, the riot at the Capitol caused

Mayor Bowser to issue curfew, see Ex. 415, which caused Safeway to close its stores in the

District, see Ex. 703, which caused Safeway to lose out on business and not be able to receive out-

of-state shipments, see Ex. 703. Thus, the civil disorder adversely affected commerce. Second,

the civil disorder “adversely affected the Secret Service’s plans to protect Vice President Pence

and his family, thus interfering with the performance of a federally protected function.” Tr. 3/8/22

at 1500 (Court’s post-trial ruling); see Tr. 3/4/22 at 1091-92 (U.S. Secret Service Special Agent

Paul Wade testifying about the “emergency actions” the Secret Service had to take to protect Vice

President Pence and his family, including relocating them and their motorcade and bringing

additional agents to the Capitol to ensure their protection for the remainder of the proceeding).

And the civil disorder adversely affected the United States Capitol Police’s protection of the

United States Capitol building, something that police force is sworn to do. See Tr. 3/2/22 at 603

(testimony of Officer Kerkhoff).

       As the Court stated, “[a] rational jury could also find beyond a reasonable doubt that Mr.

Reffitt obstructed officers during a civil disorder in violation of Title 18 United States Code

Section 231(a)(3).” Tr. 3/8/22 at 1500. The Court should deny the motion for judgment of

acquittal on Count Four.




                                                19
        Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 20 of 22




       E.       Count Five, Obstruction of Justice—Hindering Communication Through
                Force or Threat of Physical Force

       Count Five charged the defendant with obstructing justice by hindering communication to

law enforcement through force or the threat of physical force, in violation of 18 U.S.C.

§ 1512(a)(2)(C). That crime has four elements: (1) “the defendant knowing used or attempted to

use physical force or the threat of physical force against” his children; (2) the defendant intended

to “hinder, delay, or prevent” his children from communicating information about an actual or

potential crime to law enforcement; (3) “there was a reasonable likelihood that at least one of the

communications targeted by the defendant would have been made to a federal officer,” and (4)

“the information that would have been communicated to the federal officer related to the possible

commission of a federal offense.” Final Jury Instructions (ECF No. 119), at 34. Those elements

were amply supported at trial.

       First, Jackson Reffitt testified that the defendant told him and his sister, “If you turn me in,

you are traitor. Traitors get shot.” Tr. 3/3/22 at 1003. He took the statements as a “threat”; he

was “scared” for himself and his sister. Id. at 1004. According to Jackson Reffitt’s testimony, the

defendant also said to Peyton Reffitt, “You better not be recording this or I will put a bullet in your

phone.” Id. He took the comments “seriously” and reported to the FBI, later that day, that his

father “threatened me and my little sister.” Id. at 1005, 1007-08; see also Tr. 3/4/22 at 1229 (Agent

Hightower testimony about receiving the report of the threat from Jackson Reffitt). From that

testimony, a rational jury could easily conclude both that the defendant threatened his children

with force and that the defendant in issuing the threat intended to prevent his children from

communicating with law enforcement about the defendant’s participation in the riot at the Capitol

on January 6.




                                                  20
        Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 21 of 22




       Second, the defendant’s words and the context in which he issued the threat makes clear

that his children—in particular, Jackson Reffitt—envisioned communicating to a federal law

officer about the defendant’s potential or actual federal crimes. As the Court found, a “jury could

credit Jackson Reffitt’s testimony that Mr. Reffitt threatened to shoot his children or put a bullet

through his daughter’s phone if they informed the FBI about his actions on January 6, and the

information that they would have provided, and indeed Jackson had already provided, related to

federal offenses.” Tr. 3/8/22 at 1500-01. “A rational jury” could therefore “find that Mr. Reffitt

obstructed justice by threatening physical force in violation of Title 18 United States Code Section

1512(a)(2)(C) or that he took a substantial step toward obstructing justice.” Id. at 1500.

       The defendant’s attack on Jackson Reffitt’s credibility has no place in a motion under Rule

29. For example, the defendant complains that “Jackson Reffitt’s story has changed,” that he

“hyp[ed] his story” on national media, and that made over $158,000 on his GoFundMe site. Mot.

at 18. The jury’s verdict rejected these credibility claims, see Campbell, 702 F.2d at 264 (court

must presume jury properly “evaluat[ed] the credibility of witnesses”), and this Court should not

“determine the credibility of witnesses,” Glasser, 315 U.S. at 80.

                                           Conclusion

       The Court should deny the defendant’s three post-trial motions.




                                                21
Case 1:21-cr-00032-DLF Document 132 Filed 04/05/22 Page 22 of 22




                             Respectfully submitted,

                             MATTHEW M. GRAVES
                             United States Attorney
                             DC Bar No. 481052

                          By:_______________________________________
                             Jeffrey S. Nestler
                             Assistant United States Attorney
                             DC Bar No. 978296
                             Risa Berkower
                             Assistant United States Attorney
                             NY Bar No. 4536538
                             U.S. Attorney’s Office for the District of Columbia
                             555 4th Street NW
                             Washington, D.C. 20530
                             Phone: 202-252-7277
                             Email: Jeffrey.Nestler@usdoj.gov




                               22
